                                                                   IT IS ORDERED
                                                                   Date Entered on Docket: March 19, 2019




                                                                   ________________________________
                                                                   The Honorable David T. Thuma
                                                                   United States Bankruptcy Judge
______________________________________________________________________
                               UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF NEW MEXICO


  In re:                                                      Chapter 11

  ROMAN CATHOLIC CHURCH OF THE                                Case No. 18-13027-t11
  ARCHDIOCESE OF SANTA FE, a New
  Mexico corporation sole,

                             Debtor.

            AMENDED1 ORDER FIXING TIME FOR FILING PROOFS OF CLAIMS;
               APPROVING PROOF OF CLAIM FORMS; PROVIDING FOR
             CONFIDENTIALITY PROTOCOLS; AND APPROVING FORM AND
                              MANNER OF NOTICE

             Before the Court is the motion of the Roman Catholic Church of the Archdiocese of Santa

      Fe, Debtor-In-Possession ("Debtor"), entitled "Motion for an Order Establishing Deadlines for

      Filing Proofs of Claims; Approving Claim Forms; for Sealing of Schedules and Pleadings and

      for Confidentiality Protocols; and Approving Form and Manner of Notice Thereof; and Notice


  1
   On March 8, 2019, the Court entered Order Fixing Time for Filing Proofs of Claims; Approving Proof of Claim
  Forms; Providing for Confidentiality Protocols; and Approving Form and Manner of Notice (Docket No. 116) (the
  “Original Order”). The Original Order is being amended to correct typos related to paragraph numbers. There are no
  substantive changes. All deadlines set forth in this order relate back to entry of the Original Order.


                                                          1
 Case 18-13027-t11           Doc 130       Filed 03/19/19        Entered 03/19/19 13:00:28 Page 1 of 12
of Motion" (Doc. No. 83) (the "Motion"). Capitalized terms used but not defined herein shall have

the meaning and definitions ascribed to them in the Motion. It appears that the Motion was brought

in compliance with the Federal Rules of Bankruptcy Procedure ("Bankruptcy Rules")and New

Mexico Local Bankruptcy Rules ("LBR"); that the Court has jurisdiction over this matter pursuant

to 28 U.S.C. § 1334 and § 157, and this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

that notice of the Motion is appropriate, and no other or further notice is required. On February 21,

2019, “John Doe” filed an objection requesting the Court shorten the deadline for parties to file

proofs of claim (doc. 103) (the “Objection”). No other objections were filed to the Motion. The

relief requested in the Motion is in the best interest of the Debtor's estate, its creditors and other

parties-in-interest, and necessary and appropriate for establishing procedures; and that sufficient

cause exists.

         Therefore, IT IS HEREBY ORDERED that:

         1. The Objection is overruled.

         2. The Motion is granted as set forth in the Order.

 FORMS

         3. The Sexual Abuse Proof of Claim Form, the General Claims Bar Date Notice, the

 Permitted Party Confidentiality Agreement, the Sexual Abuse Claims Bar Date Notice, and the

 Publication Notice, in the forms annexed hereto as Exhibits "A," "B," "C," "D," and "E"

 respectively, are approved. Court approval of the Sexual Abuse Proof of Claim Form is without

 prejudice to the requests of any party in interest to request additional information from sexual

 abuse claimants regarding their filed claims under applicable rules or as may be further ordered

 by the Court.




                                                  2
Case 18-13027-t11       Doc 130     Filed 03/19/19      Entered 03/19/19 13:00:28 Page 2 of 12
 NOTICE

        4. The form and manner of notice as approved herein fulfill the notice requirements of

 the Bankruptcy Rules and the NM LBRs, and notice of the bar dates in the form and manner as

 approved herein is fair and reasonable and will provide sufficient and due notice to all creditors

 of their rights and obligations in connection with claims they may assert against the Debtor's

 estate in this Chapter 11 case. Accordingly, the Debtor is authorized and directed to serve and/or

 publish the notices in the manner described herein.

 BAR DATES

        5. Except as provided in paragraph 6 of this Order, any entity holding a pre-petition claim

 against the Debtor must file a proof of claim in accordance with the procedures described herein

 on or before June 17, 2019 at 5:00 p.m. (Prevailing Mountain Time) (the "General Claims

 Bar Date"). The General Claims Bar Date applies to all persons and entities (including

 governmental units), other than Sexual Abuse Claimants addressed in paragraph 5, that assert

 claims, as defined in § 101(5) of the Bankruptcy Code, against the Debtor (whether secured,

 unsecured priority or unsecured non-priority) that arose prior to commencement of the Debtor’s

 chapter 11 case. The General Claims Bar Date shall be identified in the General Claims Bar Date

 Notice and the Publication Notice.

        6. Except as provided in paragraph 6 of this Order, any entity holding a prepetition claim

 arising from sexual abuse for which the individual believes the Debtor may be liable, must file a

 proof of claim in accordance with the procedures described herein on or before June 17, 2019

 at 5:00 p.m. (Prevailing Mountain Time) (the "Sexual Abuse Claims Bar Date"). The Sexual

 Abuse Claims Bar Date shall be identified in the Sexual Abuse Claims Bar Date Notice and the

 Publication Notice. A Sexual Abuse Claim is:



                                                3
Case 18-13027-t11      Doc 130     Filed 03/19/19      Entered 03/19/19 13:00:28 Page 3 of 12
       Any Claim (as defined in section 101(5) of the Bankruptcy Code) against the Archdiocese
       resulting or arising in whole or in part, directly or indirectly from any actual or alleged
       sexual conduct or misconduct, sexual abuse or molestation, indecent assault and/or battery,
       rape, pedophilia, ephebophilia, or sexually-related physical, psychological, or emotional
       harm, or contacts, or interactions of a sexual nature between a child and an adult, or a
       nonconsenting adult and another adult, sexual assault, sexual battery, sexual psychological
       or emotional abuse, humiliation, or intimidation, or any other sexual misconduct, and
       seeking monetary damages or any other relief, under any theory of liability, including
       vicarious liability, any negligence-based theory, contribution, indemnity, or any other
       theory based on any acts or failures to act by the Archdiocese or any other person or entity
       for whose acts or failures to act the Archdiocese is or was allegedly responsible.


 WHO MUST FILE PROOFS OF CLAIM

        7. The following entities, whose claims otherwise would be subject to the General Claims

 Bar Date or the Sex Abuse Claims Bar Date, shall not be required to file proofs of claim in this

 Chapter 11 case:

                a.      Any person or entity that has already properly filed a proof of claim against
                        the Debtor with the Clerk of the Court for the United States Bankruptcy
                        Court for the District of New Mexico (the "Court");

                b.      Any person or entity: (i) whose claim is listed in the Debtor’s filed schedules
                        or any amendments thereto; and (ii) whose claim is not described therein as
                        "disputed," "contingent," or "unliquidated;" and (iii) who does not dispute
                        the amount or classification of its claim as set forth in the schedules;

                c.      Any person or entity that asserts an administrative expense claim against the
                        Debtor pursuant to § 503(b) and § 507(a)(2) of the Bankruptcy Code;

                d.      Any person or entity whose claim against the Debtor has been allowed by an
                        Order of the Court entered on or before the applicable bar date; and

                e.      Any person or entity whose claim has been paid in full.

        8. By virtue of the foregoing, the following entities must file a proof of claim on or

 before the applicable bar date:

                a.      Any person or entity whose prepetition claim against the Debtor is not
                        listed in the Debtor's schedules or whose prepetition claim is listed in the
                        Schedules but is listed as disputed, contingent or unliquidated, and that
                        desires to participate in this case or share in any distribution in this case;


                                                  4
Case 18-13027-t11      Doc 130      Filed 03/19/19      Entered 03/19/19 13:00:28 Page 4 of 12
                b.      Any person or entity that believes that its prepetition claim is improperly
                        classified in the schedules or is listed in an incorrect amount and that desires
                        to have its claim allowed in a classification or amount other than that
                        identified in the schedules; and

                c.      Any Sexual Abuse Survivor who believes that he or she has a claim against
                        the Debtor, including but not limited to, Sexual Abuse Claimants who
                        previously filed lawsuits against the Debtor, and Sexual Abuse Claimants
                        who never filed a lawsuit, entered into a settlement or reported their abuse.

        9. Any entity that is required to file a proof of claim in this Chapter 11 case pursuant

 to the Bankruptcy Code, the Bankruptcy Rules, or this Order with respect to a particular

 claim against the Debtor, but that fails to do so by the applicable bar date, may not be

 treated as a creditor with respect to such claim for the purposes of voting on and

 distribution under any Chapter 11 plan proposed and/or confirmed in this case.

        10. The Debtor shall retain the right to: (i) dispute, or assert offsets or defenses, including

 statute of limitations, against any filed claim or any claim listed or reflected in the schedules as

 to nature, amount, liability, classification or otherwise; (ii) subsequently designate any claim as

 disputed, contingent or unliquidated; and (iii) request information from sexual abuse claimants

 regarding their filed claims under applicable rules or as may be further ordered by the Court.

 Nothing herein shall affect any party's rights regarding discovery or informal information

 requests.

 REQUIREMENTS FOR PROOF OF CLAIM FORMS

        11. Each general creditor proof of claim form must: (a) be written in English; (b) be

 denominated in lawful currency of the United States as of the petition date; (c) have attached

 copies of any writings upon which the claim is based, including evidence that a security interest

 has been perfected for any secured claims; and (d) be originally executed and delivered to the




                                                  5
Case 18-13027-t11       Doc 130     Filed 03/19/19      Entered 03/19/19 13:00:28 Page 5 of 12
 Clerk of the United States Bankruptcy Court for the District of New Mexico at the following

 address: Office of the Clerk of Court U.S. Bankruptcy Court, District of New Mexico, Pete V.

 Domenici U.S. Courthouse, 333 Lomas Blvd. NW, Suite 360 Albuquerque, NM 87102. All

 general creditor proof of claim forms must be received by the Bankruptcy Court Clerk by the

 General Claims Bar Date (proofs of claim sent by facsimile or e-mail will not be accepted).

        12. Each Sexual Abuse Proof of Claim Form filed must: (a) be written in English or

Spanish; and (b) be originally executed and delivered, along with one (1) copy, to the Clerk of the

United States Bankruptcy Court for the District of New Mexico at the following address: Office

of the Clerk of Court-ATTN SEALED DOCUMENTS, U.S. Bankruptcy Court, District of New

Mexico, Pete V. Domenici U.S. Courthouse, 333 Lomas Blvd. NW, Suite 360 Albuquerque, NM

87102. All Sexual Abuse Proof of Claim Forms must be received by the Sexual Abuse Claims Bar

Date (proofs of claim sent by facsimile or e-mail will not be accepted). The Clerk of the Court

will provide a copy of the Sexual Abuse Proofs of Claim to the Debtor on a weekly basis. The

Debtor shall provide copies (including electronic copies) of all Sexual Abuse Proofs of Claim to

the Committee within two business days of the Debtor’s receipt thereof.

 CONFIDENTIALITY PROTOCOLS

        13. Sexual Abuse Proof of Claim Forms shall be submitted pursuant to the following

Confidentiality Protocol:

                a.      Sexual Abuse Proof of Claim Forms submitted by Sexual Abuse
                        Claimants shall be sealed and will not be available to the general public
                        unless a Sexual Abuse Claimant affirmatively indicates his or her desire
                        that the Sexual Abuse Proof of Claim Form be made public in Part 1 of
                        the Sexual Abuse Proof of Claim Form. The Confidentiality Protocol is
                        for the benefit of the Sexual Abuse Claimants. Accordingly, Sexual
                        Abuse Claimants may elect to make any of the information contained in
                        a Sexual Abuse Proof of Claim Form public, even if they elected to file
                        the Proof of Claim confidentially.



                                                6
Case 18-13027-t11      Doc 130     Filed 03/19/19     Entered 03/19/19 13:00:28 Page 6 of 12
                  b.       Sexual Abuse Proof of Claim Forms submitted by a Sexual Abuse
                           Claimant shall be held and treated as confidential by the Debtor and
                           Debtor’s counsel and copies thereof may be provided to the parties listed
                           below (the “Permitted Parties”) and to such other persons that may be
                           granted access to the Sexual Abuse Proofs of Claim by order of the Court.
                           No party (including a Permitted Party) may obtain copies of Sexual Abuse
                           Proofs of Claim unless such party executes a confidentiality agreement
                           substantially in the form attached hereto as Exhibit C (the
                           “Confidentiality Agreement”). All parties with access to the Sexual
                           Abuse Proof of Claim Forms shall keep the information provided in a
                           Sexual Abuse Proof of Claim Form confidential (unless the Sexual Abuse
                           Claimant elects otherwise in Part 1 of the Sexual Abuse Proof of Claim
                           Form).2 Executed Confidentiality Agreements shall be provided to
                           counsel to the Debtor and counsel to the Committee. Permitted Parties
                           shall not disclose the contents of any Sexual Abuse Claim Form unless
                           expressly authorized pursuant to Part 1 of the Sexual Abuse Claim Form,
                           even if the Sexual Abuse disclosed some or all of the information contained
                           in the form. Counsel to the Debtor and counsel to the Committee shall
                           only be required to execute a single Confidentiality Agreement per law
                           firm.
                           i.       Any recipient that is a party to a Confidentiality Agreement may
                                    use the information provided in any and all Sexual Abuse Proof of
                                    Claims Forms only in connection with the Case, any related
                                    adversary proceedings or contested matters in the Case, any related
                                    insurance or reinsurance coverage demands, claims, disputes, or
                                    litigation, any settlement negotiation or mediation regarding all of
                                    the foregoing, and as otherwise required by federal or state laws or
                                    regulations ("Permitted Use(s)").
                           ii.      In the event a Permitted Use requires Recipient to disclose to a
                                    court information provided in any and all Sexual Abuse Proof of
                                    Claims Forms, Recipient will file the Sexual Abuse Proof of Claim
                                    Forms under seal or in accordance with any subsequent order
                                    entered by the Bankruptcy Court in the Case regarding such
                                    disclosure after request by Recipient and/or other parties in interest
                                    in the Case.
                           iii.     Nothing herein or in the Confidentiality Agreements imposes any
                                    restrictions on the use or disclosure of any information that is
                                    obtained from a source other than the Sexual Abuse Proof of Claim
                                    Forms, or precludes the recipient from petitioning the Court
                                    regarding modification of this Order or Confidentiality
                                    Agreements as to disclosure of the information contained in the
                                    Sexual Abuse Proof of Claim Forms.

2
 Except for counsel to the Debtor and counsel to the Committee and unless otherwise specified herein, access to the
Sexual Abuse Proof of Claim Forms extends only to the natural person who executes the Confidentiality Agreement.
A separate Confidentiality Agreement must be signed by each natural person who seeks access to the records on
behalf of a Permitted Party.


                                                        7
Case 18-13027-t11          Doc 130       Filed 03/19/19        Entered 03/19/19 13:00:28 Page 7 of 12
                    iv.     Nothing herein shall affect any party's rights regarding discovery
                            or informal information requests

             c.     The Permitted Parties (the “Permitted Party List”) include:

                    i.      Counsel to the Debtor retained pursuant to an order of the
                            Bankruptcy Court, including partners, counsel, associates, and
                            employees of such counsel;
                    ii.     The Archbishop of the Archdiocese of Santa Fe (the
                            “Archbishop”) and employees of the Debtor who are necessary to
                            assist the Archbishop in reviewing and analyzing the Sexual Abuse
                            Claims;
                    iii.    Counsel for the Committee, including partners, counsel, associates,
                            and employees of such counsel;
                    iv.     Any insurance company that provided insurance that may cover the
                            claims described in the Sexual Abuse Proof of Claim Forms upon
                            consent of the Debtor and the Committee;
                    v.      Any unknown claims representative appointed pursuant to an order
                            of the Court in this case;
                    vi.     Any mediator appointed pursuant to an order of this Court to
                            mediate the terms of a settlement or Plan of reorganization in this
                            case;
                    vii.    Any special arbitrator/claims reviewer appointed to review and
                            resolve the claims of Sexual Abuse Claimants;
                    viii.   Any trustee, or functional equivalent thereof, appointed to
                            administer payments to Sexual Abuse Claimants including
                            pursuant to a plan of reorganization or a proposed plan of
                            reorganization;
                    ix.     Authorized representatives of a department of corrections if the
                            Sexual Abuse Claimant is incarcerated but only to the extent
                            disclosure is authorized or required under applicable non-
                            bankruptcy law;
                    x.      Members of the Committee and their personal counsel (after the
                            Sexual Abuse Proof of Claim Form has been redacted to remove
                            the Sexual Abuse Claimant’s name, address, and any other
                            information identified in Part 2(A) of the Sexual Abuse Proof of
                            Claim Form and the signature block);
                    xi.     Any Person with the express written consent of the Debtor and the
                            Committee upon 10 business days’ notice to Sexual Abuse
                            Claimants;
                    xii.    Insurance companies or their successors, including any authorized
                            claim administrators of such insurance companies, that issued or
                            allegedly issued policies to the Debtor and their reinsurers and
                            attorneys; and
                    xiii.   Such other persons as the Court determines should have the
                            information in order to evaluate Sexual Abuse Claims; provided,



                                             8
Case 18-13027-t11   Doc 130     Filed 03/19/19     Entered 03/19/19 13:00:28 Page 8 of 12
                                 however, that any such determination shall be made on no less than
                                 7 days’ notice to Sexual Abuse Claimants.
 TIMING AND FORM OF NOTICE

         14. Within five (5) days of the entry of this Order, the Debtor shall serve by United

 States mail, first-class postage prepaid, the General Claims Bar Date Notice on (a) the Office

 of the United States Trustee for the District of New Mexico; (b) counsel to the Committee; (c)

 counsel for all person or entities who have filed a notice of appearance in the Debtor's case;

 (d) all persons or entities listed in Debtor's schedules; (e) all parties to executory contracts and

 unexpired leases of the Debtor; (f) all persons or entities that have previously filed proofs of

 claim in this case; (g) any other persons or entities or their counsel, including governmental

 units, known to the Debtor as persons or entities who may have claims against the estate; and

 (h) such additional persons and entities as deemed appropriate by the Debtor.

         15. Within five (5) days of entry of this Order, the Debtor shall also serve by United

 States mail, first-class postage prepaid, the Sexual Abuse Claims Bar Date Notice on the parties

 identified in paragraph 14(a), (b), (c), (d) and (h), and on known Sexual Abuse Claimants who:

                 a.      filed, or threatened to file, lawsuits against the Debtor that allege they
                         were abused;

                 b.      contacted the Debtor to report that they were claimants of abuse, whether
                         or not that individual’s claim was considered to be substantiated and
                         whether or not the report was written or verbal; or

                 c.      are known to the Debtor to be Sexual Abuse Claimants for any other
                         reasons whatsoever.

        16. The Debtor shall also provide notice of the Sexual Abuse Claims Bar Date and the

General Claims Bar Date by causing a copy of the Publication Notice to be published as follows:

                 a.      Publication twice (in English) in each of the following publications, with
                         the first publication to occur within two weeks of the service required
                         under paragraphs 14 and 15 and the second publication to occur no later
                         than thirty


                                                   9
Case 18-13027-t11       Doc 130      Filed 03/19/19      Entered 03/19/19 13:00:28 Page 9 of 12
                       (30) days prior to the expiration of the bar dates, unless otherwise noted
                       below:

                      Local U.S. Publications and Entities
                      Alamogordo Daily News
                      Albuquerque Journal
                      Albuquerque Journal North
                      Arizona Republic
                      Cibola Citizen
                      Denver Post
                      El Paso Times
                      Farmington Times
                      Gallup Independent
                      Las Cruces Sun News
                      Las Cruces Sun Times
                      Las Vegas Optic
                      Navajo Times
                      Rio Grande Sun (Espanola)
                      Rio Grande Sun
                      Roswell Daily Record
                      Sangre de Cristo Chronicle
                      Santa Fe New Mexican
                      Santa Fe Reporter
                      Taos News
                      Weekly Alibi

                      People of God (shall be published on April 13, 2019 and once no later than
                      thirty (30) days prior to the expiration of the General and Sexual Abuse Bar
                      Date)

                      USA Today (shall be published one time only no later than thirty (30) days
                      prior to the expiration of the General and Sexual Abuse Bar Date)

                b.     Debtor will also send a copy of the Sexual Abuse Claims Bar Date Notice
                       to the publications listed in paragraph 16(a) and to the Associated Press
                       of Albuquerque.

         17. The Debtor shall provide further notice of the Sexual Abuse Claims Bar Date

  by taking the following measures:

                a.     Upon entry of the Order, the Debtor will post the Sexual Abuse Bar Date
                       Notice Package on the following website: https://archdiosf.org/ and will
                       request the Parishes post on the website of each Parish that maintains a
                       website.



                                               10
Case 18-13027-t11     Doc 130     Filed 03/19/19     Entered 03/19/19 13:00:28 Page 10 of 12
                 b.     The Debtor will maintain a telephone number which may be used by
                        Sexual Abuse Claimants to ask questions or obtain copies of the Sexual
                        Abuse Bar Date Notice Package or parts thereof.
                 c.     Within one (1) week of the service of Sexual Abuse Bar Date Notice
                        Package, the Debtor will mail a copy of the Sexual Abuse Bar Date
                        Notice to the following:
                        1.     the attorney general for New Mexico;
                        2.     the district attorney for each county in New Mexico;
                        3.     each Parish and mission that is a part of the Archdiocese;
                        4.     the public health agency, if any, for each county where the
                               Archdiocese has a parish or mission;
                        5.   a substance abuse agency, if any, in each county where the
                        Archdiocese has a parish or mission, including without limitation the
                        Agora Crisis Center in Albuquerque;
                        6.   the police/sheriff's department for each locality where the
                        Archdiocese has a parish or mission;
                        7.    the hospital(s) for each county where the Archdiocese has a parish
                        or mission;
                        8.   each Governor's/President’s Office of each of the Pueblos, Tribes
                        and Nations located in New Mexico; and
                        9.      any Diocese located within the State of New Mexico with a request
                        that it be published on its website.


                 d.     The Debtor will simultaneously request that each recipient identified in
                        paragraph 17(c) publicly post such notice until the expiration of the
                        Sexual Abuse Claims Bar Date.

                 e.     Each request described in paragraph 17(c) shall be on the Debtor's
                        letterhead, personally signed by the Archbishop. The request shall
                        include a statement at the bottom for the recipient to indicate whether it
                        will comply with the request and the request shall include a stamped self-
                        addressed return envelope.

         18. The Debtor is authorized and empowered to take all actions necessary to

  implement the relief granted in this Order.

         19. This Court retains jurisdiction to hear and determine all matters arising from

  or related to the implementation, interpretation and/or enforcement of this Order.




                                                 11
Case 18-13027-t11      Doc 130     Filed 03/19/19     Entered 03/19/19 13:00:28 Page 11 of 12
                               ### END OF ORDER ###


 Submitted by:

 By:/s/ Stephanie L. Schaeffer
 Thomas D. Walker
 Stephanie L. Schaeffer
 WALKER & ASSOCIATES, P.C.
 500 Marquette N.W., Suite 650
 Albuquerque, New Mexico 87102
 (505) 766-9272

 -and-

 Ford Elsaesser
 Bruce A. Anderson
 ELSAESSER ANDERSON, CHTD.
 320 East Neider Avenue, Suite 102
 Coeur d'Alene, ID 83815
 (208) 667-2900
 Fax: (208) 667-2150
 ford@eaidaho.com
 brucea@eaidaho.com
 Counsel for Debtor

 APPROVED BY:

 /s/Ilan D. Scharf_3/13/2019
     James I. Stang, Esq.
     Ilan D. Scharf, Esq.
     PULCHULSKI STANG ZIEHL & JONES LLP
     10100 Santa Monica Blvd., 13th Floor
     Los Angeles, California 90067
     Telephone: (310) 277-6910
     Facsimile: (310) 201-0760
     Email: jstang@pszjlaw.com
 Counsel for the Official Committee of Unsecured Creditors of the Roman Catholic
 Church of the Archdiocese of Santa Fe, a New Mexico corporation sole
 Attorney for Arrowhead Insurance and Great American Insurance

 Copy to:
 U.S. Trustee
 P.O. Box 608
 Albuquerque, NM 87103
 ustpregion20.aq.ecf@usdoj.gov
 Albuquerque, NM 87103


                                              12
Case 18-13027-t11     Doc 130     Filed 03/19/19   Entered 03/19/19 13:00:28 Page 12 of 12
